Case 1:14-ml-02570-RLY-TAB Document 22508 Filed 08/09/22 Page 1 of 2 PageID #:
                                 132780



                          IN THE UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION



In Re: COOK MEDICAL, INC., IVC FILTERS
MARKETING, SALES PRACTICES AND                                  Case No. 1:14-ml-2570-RLY-TAB
PRODUCTS LIABILITY LITIGATION                                                     MDL No. 2570


This Document Relates to:

Daniel E. Dyer

Civil Case # 1:22-cv-6845-RLY-TAB



                                 NOTICE OF APPEARANCE

To: The Clerk of Court and all parties of record:


       I am admitted or otherwise authorized to practice in this Court, and I appear in this

case on behalf of Plaintiff set forth in the above referenced matter.



                                                    Respectfully submitted,

                                                     /s/ Jennifer Rethemeier
Dated: 8/9/22                                       Jennifer Rethemeier
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                                                    Lead Counsel for Plaintiff
Case 1:14-ml-02570-RLY-TAB Document 22508 Filed 08/09/22 Page 2 of 2 PageID #:
                                 132781



                                CERTIFICATE OF SERVICE

       I hereby certify that on August 9, 2022, I electronically filed the foregoing document

with the Clerk of the Court using the CM/ECF system which will send notification of such filing

to the CM/ECF participants registered to receive service in this MDL.


                                                     /s/ Jennifer Rethemeier
                                                    Jennifer Rethemeier




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